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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

EDMOND M. BUTCH on behalf of himself           )
and all other persons similarly situated, et   )
al.,
                                               )
                           Plaintiffs,         )
                                               )
                      v.                       )     No. 3:19-cv-00258-RLY-CSW
                                               )
ALCOA USA CORP., et al.,                       )
                                               )
                           Defendants.         )

                          ORDER GRANTING
               JOINT MOTION FOR EXTENSION OF DEADLINE
          TO FILE AND SERVE FINAL WITNESS AND EXHIBIT LISTS

        AND NOW, this 13th day of March, 2024, upon consideration of the Parties’

  Joint Motion Requesting Extension of Deadline to File and Serve Final Witness

  and Exhibit Lists (Dkt. No. 190), the Motion is hereby GRANTED. The current

  deadline for the Parties to file and serve their respective lists of witnesses and

  exhibits they may offer at trial is extended until June 10, 2024.

        SO ORDERED.

        Date: March 13, 2024




  Served electronically on all ECF-registered counsel.
